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     A Professional Law Corporation
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     Attorneys for Defendant JOHN ALAN BALLARD
7

8                                   UNITED STATES DISTRICT COURT
9
                                    EASTERN DISTRICT OF CALIFORNIA
10
     THE UNITED STATES OF AMERICA,                       Case No.: 1:17 CR 00243 LJO SKO
11
                      Plaintiff,
12
     vs.                                                 STIPULATION AND ORDER TO
13                                                       CONTINUE STATUS CONFERENCE
14   JOHN ALAN BALLARD, JUDY IRENE
     CALDERON, SHERRY LYNN HERBERT,
15
     AND ANDREA RACHELLE TODD
16
                      Defendants.
17

18                                             STIPULATION
19
     Plaintiff, United States of America, by and through its counsel of record, and Defendant John
20
     Alan Ballard, by and through his counsels of record, Judy Irene Calderon, by and through her
21

22
     counsel of record, Sherry Lynn Herbert, by and through her counsels of record, Andrea Rachelle

23   Todd, by and through her counsel of record, hereby stipulate as follows:

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25
           1. By previous order, this matter was set for status conference on April 2, 2018 at 1:00 p.m.

26            and time was ordered excluded in the interest of justice.

27

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1          2. By this stipulation, the parties hereby move to continue the status conference to June 4,
2
              2018 because counsels for the defendants need additional time to properly prepare a
3
              defense. Counsels for the defendants believe that failure to grant the above requested
4
              continuance would deny them the reasonable time necessary for effective preparation,
5

6             taking into account the exercise of due diligence and the Government does not object to

7             the continuance.
8

9
           3. Based on the above-stated findings, the ends of justice served by continuing the case as
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              requested outweigh the interest of the public and the defendants in a trial within the
11

12            original dates prescribed by the Speedy Trial Act.

13

14
           4. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.§ 3161, et seq,
15
              within which trial must commence, the time period of April 2, 2018 to June 5, 2018,
16
              inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), because it results
17

18            from a continuance granted by the Court at the defendant’s request on the basis of the

19            Court’s findings that the ends of justice served by taking such action outweigh the best
20
              interest of the public and the defendants in a speedy trial.
21

22
           5. Nothing in this stipulation and order shall preclude a finding that other provisions of the
23

24            Speedy Trial Act dictate that additional time periods are excludable from the period

25            within which a trial must commence.
26

27   ///

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1    IT IS SO STIPULATED.                                    Respectfully submitted,
2
     Dated: March 29, 2018                                   McGREGOR W. SCOTT
3                                                            United States Attorney

4                                                            ___/s/ Michael G. Tierney___________
                                                             MICHAEL G. TIERNEY
5
                                                             Assistant United States Attorney
6

7    Dated: March 29, 2018                                   ___/s/ Mary Ann F. Bird_____________
                                                             MARY ANN F. BIRD
8
                                                             Attorney for JOHN ALAN BALLARD
9

10   Dated: March 29, 2018                                   ___/s/ Timote Fakaofo Tuitavuki______
                                                             TIMOTE FAKAOFO TUITAVUKI
11
                                                             Attorney for JUDY IRENE CALDERON
12

13   Dated: March 29, 2018                                   ___/s/ Martin Taleisnik______
                                                             MARTIN TALEISNIK
14
                                                             Attorney for SHERRY LYNN HERBERT
15

16   Dated: March 29, 2018                                   ___/s/ Robert Sherman Wynne______
                                                             ROBERT SHERMAN WYNNE
17
                                                             Attorney for ANDREA RACHELLE TODD
18

19

20

21                                                 ORDER

22          The parties' request for a continuance of the status conference is GRANTED.
23
            The parties are cautioned that any further request for an extension of time must be
24
     supported by good cause and shall include a detailed explanation demonstrating due diligence,
25
     including a description of what actions have been undertaken, and what further actions are
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27   needed, to move the case forward. Counsel's general statement alone regarding the need for

28   additional time to prepare a defense is insufficient.

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1                IT IS SO ORDERED.
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3
                 Dated:   March 29, 2018            /s/   Sheila K. Oberto    .
                                             UNITED STATES MAGISTRATE JUDGE
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